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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 JANE DOE                                    )
                                             )
                                 Plaintiff,  )
                          vs.                )
 LYFT, INC., et al.,                         ) Civil Action No. 1:23-cv-02006-APM
                                             )
                                 Defendants. )
                                             )
                                             )
                                      [PROPOSED] ORDER

Upon consideration of the Parties’ Stipulation it is hereby ORDERED on this ______ day of

__________, 2023 that the case is STAYED pending mediation;

         It is further ORDERED that the parties shall file a joint status report on or before one week

after the conclusion of the mediation.



                                         SO ORDERED.



                                         _________________________________
                                         The Honorable Amit P. Mehta
                                         United States District Court Judge




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